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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


ABDELAZIZ HAMZE,

          Plaintiff,                          Case No. 3:22-cv-4978-TKW-ZCB

v.

LT. SETTLEMYERS, et al.,

          Defendants.


                PLAINTIFF’S BRIEFING ON JURY INSTRUCTIONS

          Per the Court’s Final Pretrial Order (Doc. 99), Plaintiff Abdelaziz

Hamze provides the following caselaw in support of his positions on

eliminating any affirmative defense or mitigation instruction and rejecting

Defendants’ proposed modifications on nominal and punitive damages.

     I.      The jury should not decide Defendants’ entitlement to
             qualified immunity, only factual issues.

          Plaintiff proposes the elimination of the optional instruction on

affirmative defenses in Pattern Instruction 1.1 – General Preliminary

Instruction for Defendants’ sole affirmative defense of qualified immunity.

(Doc. 93 at 6); see also (Docs. 10 & 17) (only affirmatively raising qualified

immunity). As noted within the proposed instruction: it is “not the province

of the jury to decide a defendant’s entitlement to qualified immunity.” (Doc.
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93 at 6) (quoting Simmons v. Bradshaw, 879 F.3d 1157, 1166-67 (11th Cir.

2018) (collecting cases)). Because Defendants have not raised the issue of

qualified immunity under Rules 12 or 56, “special jury interrogatories may

be used to resolve those factual issues.” Cottrell v. Caldwell, 85 F.3d 1480,

1487 (11th Cir. 1996) (citing Stone v. Peacock, 968 F.2d 1163, 1166 (11th

Cir. 1992)). However, because qualified immunity is “a legal issue to be

decided by the court,” such jury interrogatories “should not even mention

the term” qualified immunity. Cottrell, 85 F.3d at 1488. “Instead, the jury

interrogatories should be restricted to the who-what-when-where-why type

of historical fact issues.” Id.; see also Bailey v. Swindell, 2021 WL 1924176,

at *2 (N.D. Fla. May 13, 2021) (Rodgers, J.) (no references to qualified

immunity allowed at trial because the court decides the issue).

         Accordingly, Plaintiff disputes that Defendants should be entitled to

an instruction on their sole affirmative defense. Defendants have not

provided any proposed jury interrogatories on the factual issues

undergirding their qualified immunity defense.

   II.      Plaintiff is not required to mitigate his damages and therefore
            the mitigation instruction should be eliminated.

         Plaintiff further objects to the inclusion of the “Mitigation of Damages”

instruction in Pattern Instruction 5.13 on section 1983 claims for damages.

(Doc. 93 at 30–31).

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      The basic purpose of section 1983 damages is “to compensate

persons for injuries that are caused by the deprivation of constitutional

rights.” Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299 (1986) (citing

Carey v. Piphus, 435 U.S. 247, 254 (1978)). The Eleventh Circuit has held

that mitigation is consistent with the purpose of section 1983 in cases

involving back pay or wages. Murphy v. City of Flagler Beach, 846 F.2d

1306, 1309 (11th Cir. 1988). It is “[a]n inextricable part of the restoration to

prior status is the payment of back wages properly owing to the plaintiffs,

diminished by their earnings, if any, in the interim.” Id. at 1308 (citing

Harkless v. Sweeny Independent Sch. Dist., 427 F.2d 319, 324 (5th Cir.

1970)). Other courts in this Circuit have concluded that mitigation applies in

section 1983 cases because “one injured by the tort of another is not

entitled to recover damages for any harm that he could have avoided by

the use of reasonable effort or expenditure after the commission of the

tort.” Pattee v. Georgia Ports Auth., 512 F. Supp. 2d 1372, 1379 (S.D. Ga.

2007) (citing Restatement (Second) of Torts § 918 (2006)).

      Here, however, Plaintiff asserts purely noneconomic damages (Doc.

93 at 30) and could not have expended funds or effort to mitigate his

damages while a state prisoner subject to the whims of Florida Department

of Corrections. Plaintiff could not schedule his treatment, choose a course



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of treatment, or collaborate with treating physicians on pain management.

And there is no evidence to suggest that Plaintiff failed to follow doctors’

orders or instructions relative to his injuries. Accordingly, the jury should not

hear any instruction on mitigation unless the evidence at trial bears out

some facts that could demonstrate Plaintiff failed to follow procedures and

protocols by physicians and staff regarding his injuries.

   III.     The jury should hear Plaintiff’s claim for punitive damages.

          A jury should be permitted to assess punitive damages in a section

1983 case when the Defendant's conduct involves reckless or callous

indifference to the Plaintiff's federally protected rights, as well as when it is

motivated by evil motive or intent. Smith v. Wade, 461 U.S. 30, 56 (1983).

Plaintiff has asserted that Defendants broke his arm and attacked him

without penological purpose as a retaliatory effort and out of animus

towards his national origin. (See, e.g., Doc. 38 at 2). Although Plaintiff

asserts a more than de minimis injury—a broken arm—even for any acts or

omissions of the defendants that may be adduced at trial that did not result

in a more than de minimis physical injury (e.g., a contusion, see id. at 3),

Plaintiff may still be awarded punitive damages under the Prison Litigation

Reform Act. Hoever v. Marks, 993 F.3d 1353, 1364 (11th Cir. 2021) (en

banc).



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      At the pretrial conference, defense counsel suggested that punitive

damages should be “narrowly tailored” under the PLRA as a basis for the

proposed modification. Given that Plaintiff has alleged conduct that, if

proven, can satisfy an award of punitive damages, the Court should

dispense with Defendant’s proposed modification of the pattern jury

instructions to remove references to punitive damages. Hoever, 993 F.3d at

1361 (““Congress simply did not choose to provide a restriction on punitive

damages.”) (citation omitted). And whether any such punitive damages

awarded by the jury are “narrowly tailored” under the PLRA—to the extent

that is the appropriate inquiry—is a question that should be resolved after

verdict. Defendants are free to raise whether such verdict complies with the

limitation on prospective relief set forth in the PLRA (to the extent the Court

finds that punitive damages are “prospective relief” subject to the

requirement that such damages be “narrowly drawn” under 18 U.S.C. §

3626(a)(1)(A)), but they cannot take the question of punitive damages

away from the jury. See, e.g., Key v. Kight, 2017 WL 915133, at *8 (S.D.

Ga. Mar. 8, 2017), report and recommendation adopted, 2017 WL 1128601

(S.D. Ga. Mar. 24, 2017) (concluding that punitive damages were

“prospective relief” under the PLRA and recommending an award of




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punitive damages in the amount of $25,000 on a motion for entry of default

judgment).

   IV.       The Court should not deviate from the pattern instructions on
             nominal damages.

         Defendants ask the Court to modify the jury instructions and model

prisoner civil rights verdict form to remove references to the “$1” amount to

be awarded as nominal damages. Nominal damages, however, in the

section 1983 context generally do not exceed one dollar. See Carey v.

Piphus, 435 U.S. 247, 266–67, 98 S.Ct. 1042, 55 L.Ed.2d 252 (1978) (for a

violation under section 1983 without proof of actual injury, plaintiff would be

“be entitled to recover nominal damages not to exceed one dollar from

petitioner.”); Familias Unidas v. Briscoe, 619 F.2d 391, 402 (5th Cir.1980)

(holding that plaintiff was entitled to receive nominal damages, not to

exceed one dollar, based on the infringement of her First Amendment right

of association); 1 Harrison v. Myers, 2011 WL 3204372, *7 (S.D. Ala. July

13, 2011) (prisoner's request of $2,500 was not for nominal damages

because nominal damages implies a “mere token or ‘trifling’”); Jones v.

Crew Distrib. Co., 984 F.2d 405, 407–09 (11th Cir.1993) (describing




       The decisions of the former Fifth Circuit handed down before October 1,
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1981 are binding in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d
1206, 1207 (11th Cir.1981) (en banc).

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damages of $1 as “nominal”); Kyle v. Patterson, 196 F.3d 695, 697 (7th

Cir.1999) (“[N]ominal damages, of which $1 is the norm, are an appropriate

means of vindicating rights whose deprivation has not caused actual,

provable injury.”); Robinson v. Larson, 2018 WL 6028819 (N.D. Fla. Oct.

17, 2018), report and recommendation adopted, 2018 WL 6025854, *1

(N.D. Fla. Nov. 16, 2018) (magistrate judge reasoned that plaintiff was not

entitled to a jury trial because “[b]oth § 1983 case law and the Eleventh

Circuit pattern jury instructions governing plaintiff's claim indicate the

appropriate measure of nominal damages is $1.00.”); see also Black’s Law

Dictionary 473 (10th ed. 2014) (defining “nominal damages” as “[a] trifling

sum awarded when a legal injury is suffered but there is no substantial loss

or injury to be compensated”).

      At the pretrial conference, Defendants suggested that they would be

prejudiced if the jury saw the “$1” amount. Plaintiff is unsure how that

would be—the only way the jury would determine whether Plaintiff was

entitled to nominal damages is if they first found that Defendants violated

his rights and second that he was not entitled to compensatory damages.

Hiding the fact that nominal damages are $1 does not change that the jury

is required to go through each question in order and make a decision

before moving on to the next question. Because the pattern instructions



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and verdict form are consistent with the decisional authority of the Supreme

Court and this Circuit, the Court should not deviate from them.

Dated: October 23, 2023.
                                    Respectfully submitted,

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            Certificate of Compliance with Local Rule 7.1(F)

      Pursuant to Local Rule 7.1(F), I hereby certify that the foregoing

document contains 1,551 words, inclusive of headings, footnotes, and

quotations, but exclusive of the case style, signature block and certificates.

                                          By: /s/ James M. Slater
                                                James M. Slater




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